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 9
10                            UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12
13
     SOPHIA MCCONNELL, on behalf of                    Case No: 2:20-cv-3665
14   herself, all others similarly situated, and
15   the general public,                               CLASS ACTION COMPLAINT
16
                                Plaintiff,             DEMAND FOR JURY TRIAL
17
18                   v.

19
20   SIX FLAGS ENTERTAINMENT
     CORPORATION and MAGIC
21   MOUNTAIN LLC.,
22
23                             Defendants.

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 1         Plaintiff Sophia McConnell (“Plaintiff”), on behalf of herself, all others
 2   similarly situated, and the general public, by and through her undersigned counsel,
 3   hereby sues Defendants SIX FLAGS ENTERTAINMENT CORPORATION (“SIX
 4   FLAGS”) and MAGIC MOUNTAIN, LLC (“MAGIC MOUNTAIN”) (collectively,
 5   “Defendants”) and, upon information and belief and investigation of counsel, alleges
 6   as follows:
 7                                   I.       INTRODUCTION
 8         1.       Defendants own and operate Six Flags branded amusement parks and
 9   waterparks, and Hurricane Harbor waterparks located in California and throughout
10   the United States.
11         2.       Defendants offer Monthly Memberships, Season Passes, and Single-
12   Day Tickets for visitors to enter the parks.
13         3.       Defendants offer several tiers of Monthly Memberships, including a
14   Diamond Elite Membership, Diamond Membership, Platinum Membership, and
15   Gold Plus Membership.
16         4.       Monthly Memberships may only be cancelled after an initial twelve
17   (12) months.
18         5.       Customers who purchase Monthly Memberships receive unlimited
19   visits to Six Flags branded amusement parks and water parks, and Hurricane Harbor
20   waterparks throughout California and the United States.
21         6.       Defendants offer several tiers of Seasons Passes, including a Regular
22   Season Pass, Gold Season Pass, and Two-Park Season Pass.
23         7.       Customers who purchase Regular or Gold Seasons Passes receive
24   unlimited visits to all Six Flags branded theme parks.
25         8.       Customers who purchase Two-Park Season Passes receive unlimited
26   visits to all Six Flags branded theme parks and select waterparks, including Six Flags
27   Hurricane Harbor, a waterpark in Los Angeles, California.
28         9.       Members are charged monthly membership fees for Seasons Passes and


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 1   Monthly Memberships.1
 2           10.    Customers sign up for Memberships with a credit card, debit card, or
 3   Paypal account, which Defendants automatically charge every month.
 4           11.    On March 13, 2020, Defendants announced that all Six Flags theme
 5   parks and Hurricane Harbor waterparks would be closed through March 2020 due to
 6   public health concerns in the wake of the coronavirus pandemic.
 7           12.    On March 30, 2020, Defendants extended the closure of all Six Flags
 8   theme parks and Hurricane Harbor waterparks through mid-May 2020 due to public
 9   health concerns in the wake of the coronavirus pandemic.
10           13.    Defendants continued charging Monthly Membership and Season Pass
11   holders monthly membership fees, even though members were and are unable to
12   access any of the Six Flags theme parks or Hurricane Harbor waterparks.
13           14.    Plaintiff brings this action challenging Defendants’ practice of charging
14   members monthly membership fees for access to theme parks and waterparks that
15   are closed.
16           15.    Plaintiff brings this action on behalf of herself and all other similarly
17   situated consumers in the United States, alleging violations of the California
18   Consumer Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq. (“CLRA”), Unfair
19   Competition Law, Cal. Bus. & Prof. Code §§ 17200 et seq. (“UCL”), and False
20   Advertising Law, §§ 17500 et seq. (“FAL”). Plaintiff brings further causes of action
21   for breach of express and implied warranties, negligent misrepresentation, unjust
22   enrichment, conversion, and breach of contract.
23           16.    Plaintiff seeks an order compelling Defendants to (a) provide refunds
24   to members, (b) restore the amounts by which they have been unjustly enriched, and
25   (c) pay restitution damages and punitive damages, as allowed by law.
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         Customers may elect to pay for Seasons Passes in full.


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 1                                  II.   JURISDICTION AND VENUE
 2         17.       This Court has original jurisdiction under 28 U.S.C. §1332(d)(2) (The
 3   Class Action Fairness Act) because the matter in controversy exceeds the sum or
 4   value of $5,000,000 exclusive of interest and costs and because more than two-thirds
 5   of the members of the Class reside in states other than the states of which Defendants
 6   are citizens.
 7         18.       The court has general and personal jurisdiction over Defendant Magic
 8   Mountain, LLC, because it is a California limited liability company with its principal
 9   place of business in California. Defendant Magic Mountain has purposely availed
10   itself of the benefits and privileges of conducting business activities within
11   California, and consented to personal jurisdiction by registering to do business in
12   California.
13         19.       The Court has personal jurisdiction over Defendant Six Flags
14   Entertainment Corporation because it conducts substantial business within
15   California such that Defendant has significant and continuous contacts with the State
16   of California, and a substantial part of the events giving rise to the claims herein
17   occurred in California.
18         20.       Venue is proper in this Court pursuant to 28 U.S.C. §1391 because a
19   substantial part of the events giving rise to the claims occurred in this District.
20   Defendants conduct substantial business and/or committed violations of law in the
21   Los Angeles County. Plaintiff resides in this District and signed up for a Monthly
22   Membership in this District.
23                                          III.       PARTIES
24         21.       Defendant Six Flags Entertainment Corporation is a Delaware
25   corporation with its principal place of business at 924 Avenue J East, Grand Prairie,
26   Texas, 75050. Defendant Six Flags Entertainment Corporation is a regional theme
27   park company that operates the Six Flags amusement parks and Hurricane Harbor
28   waterparks in North America.


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 1         22.    Defendant Magic Mountain, LLC, is a California limited liability
 2   company with its principal place of business in 26101 Magic Mountain Parkway,
 3   Valencia, California, 91355. Defendant Magic Mountain is registered to do business
 4   in California as entity number 100631810093. Defendant Magic Mountain owns and
 5   operates the Six Flags Magic Mountain amusement park in Los Angeles, California.
 6         23.    Plaintiff Sophia McConnell (“Plaintiff”) is a resident of Contra Costa
 7   County, California and purchased a Monthly Membership during the Class Period
 8   defined herein. Plaintiff McConnell is a current Monthly Membership holder and is
 9   charged approximately $58.00 each month for her Membership. Plaintiff has been a
10   Member since approximately April of 2019. Plaintiff McConnell purchased the
11   Membership for the purpose of visiting Defendants’ theme parks, including the Six
12   Flags Magic Mountain theme park located in Los Angeles County, California. On
13   March 13, 2020, Defendants closed all Six Flags branded parks and Hurricane
14   Harbor waterparks, including the Six Flags Magic Mountain theme park. However,
15   on approximately April 5, 2020, Defendants charged Plaintiff’s credit card in the full
16   amount of her monthly membership fee, even though Defendant has barred Plaintiff
17   from visiting any of the Six Flags amusement parks. Plaintiff would not have paid
18   for the Membership, or would not have paid for it on the same terms, had she known
19   that she would not have access to the theme parks and waterparks during this time.
20                             IV.    NATURE OF THE ACTION
21         24.    On March 13, 2020, Six Flags Magic Mountain announced that it was
22   temporarily suspending business operations until the end of March 2020, and would
23   re-evaluate the COVID-19 situation at that time.2
24         25.    On March 30, 2020, Six Flags Entertainment Corporation announced
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27   2
           https://www.ktnv.com/news/national/coronavirus/six-flags-magic-mountain-
28   announces-temporary-closure


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 1   that all of the company’s parks would remain closed until at least mid-May of 2020.3
 2   A.    Defendants’ Sale and Marketing of Monthly Memberships and Seasons
 3         Passes
 4         26.    Plaintiff and the proposed Class members are all purchasers of
 5   Defendants’ Monthly Memberships or Season Passes (“Memberships” or
 6   “Membership Passes”).
 7         27.    Defendants have distributed, marketed, and sold the Membership
 8   Passes on a Nationwide basis, including California, for at least the past several years.
 9         28.    Defendants market and advertise the Memberships as ways to save
10   money through “unlimited visits” to Six Flags branded theme parks and waterparks.
11         29.    The Memberships are also advertised as containing additional benefits,
12   such as free parking, free line-skipping, or deals on dining – all of which must be
13   utilized at the parks.
14         30.    Membership holders cannot take advantage of “unlimited visits” or
15   additional benefits without access to the parks.
16         31.    In short, the Memberships are rendered worthless if members cannot
17   access the parks.
18   B.    Plaintiff’s Purchase, Reliance, and Injury
19         41.    During the class period, Plaintiff Sophia McConnell signed up for a
20   $58.00 Monthly Membership in reliance on Defendants’ claims that she would
21   receive “unlimited visits” to Six Flags branded theme parks.
22         42.    In order to sign up for a Membership, Plaintiff was required to provide
23   her credit card information to Defendants, and pay a monthly membership fee.
24         43.    Prior to and upon purchasing a Membership, Plaintiff relied upon
25   Defendants’ advertising that Plaintiff would receive “unlimited visits” to the Six
26   Flags branded amusement parks.
27   3
        https://investors.sixflags.com/news-and-events/press-releases/2020/03-30-2020-
28   161511960


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 1            44.   As a result of COVID-19, Defendants suspended operations of all Six
 2   Flags branded theme parks and Hurricane Harbor waterparks until at least mid-May.
 3            45.   However, Defendants continued to charge Plaintiff and all other
 4   members monthly membership fees.
 5            46.   The Memberships, which are solely intended as a means to provide
 6   access to the parks, are worthless since they are incapable of providing access to the
 7   parks.
 8            47.   Plaintiff would not have purchased a Membership from Defendants, or
 9   would not have purchased a Membership on the same terms, had she known that she
10   would not be able to access the parks during this time.
11            48.   Plaintiff is losing money as a result of Defendants’ unlawful conduct,
12   in that she is not receiving what she paid for when purchasing the Membership.
13                            V.     CLASS ACTION ALLEGATIONS
14            49.   Pursuant to Federal Rule of Civil Procedure 23, Plaintiff seeks
15   certification of the following Classes (or alternative Classes or Subclasses), for the
16   time period from when Defendants’ theme parks and waterparks were closed as a
17   result of COVID-19 (“Class Period”), defined as follows:
18            The Nationwide Class is defined as follows:
19            All U.S. citizens who were charged fees for Monthly Memberships or
20            Season Passes in their respective state of citizenship during the Class
21            Period.
22            The California sub-class is defined as follows:
23            All California citizens who were charged fees for Monthly
24            Memberships or Seasons Passes during the Class Period.
25            50.   The Classes and Subclasses described in this complaint will jointly be
26   referred to as the “Class” or the “Classes” unless otherwise stated, and the proposed
27   members of the Classes and Subclasses will jointly be referred to as “Class
28   Members.”


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 1         51.    Plaintiff and the Class reserve their right to amend or modify the Class
 2   definitions with greater specificity or further division into subclasses or limitation to
 3   particular issues as discovery and the orders of this Court warrant.
 4         52.    Excluded from the Class are governmental entities, Defendants, any
 5   entity in which Defendants have a controlling interest, Defendants’ employees,
 6   officers, directors, legal representatives, heirs, successors and wholly or partly
 7   owned subsidiaries or affiliated companies, including all parent companies, and their
 8   employees; and the judicial officers, their immediate family members and court staff
 9   assigned to this case.
10         53.    The members in the proposed Class are so numerous that individual
11   joinder of all members is impracticable. Due to the nature of the trade involved,
12   however, Plaintiff believes the total number of Class members is at least in the
13   hundreds and members of the Classes are numerous. While the exact number and
14   identities of the Class members are unknown at this time, such information can be
15   ascertained through appropriate investigation and discovery. The disposition of the
16   claims of the Class members in a single class action will provide substantial benefits
17   to all parties and to the Court.
18         54.    Pursuant to Rule 23(b)(2), Defendants have acted or refused to act on
19   grounds generally applicable to the Classes, thereby making final injunctive relief
20   or corresponding declaratory relief and damages appropriate with respect to the
21   Classes as a whole. In particular, Defendants have wrongfully charged members for
22   Memberships, while barring members’ access to Defendants’ parks and waterparks.
23         55.    There is a well-defined community of interest in the questions of law
24   and fact involved, affecting the Plaintiff and the Classes and these common
25   questions of fact and law include, but are not limited to, the following:
26         a.     Whether Defendants engaged, and continue to engage, in unfair or
27                deceptive acts and practices in connection with the charging of
28                Membership fees during this time;


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 1            b.    Whether Defendants        breached    their contracts with Monthly
 2                  Membership and Season Pass holders;
 3            c.    Whether Defendants’ conduct constitutes a breach of express
 4                  warranties;
 5            d.    Whether Defendants’ conduct constitutes a breach of implied
 6                  warranties;
 7            e.    Whether Defendants’ conduct violates public policy;
 8            f.    Whether the Class is entitled to restitution, actual damages, punitive
 9                  damages, injunctive relief, and attorneys’ fees and costs;
10            g.    The proper injunctive relief;
11            h.    The proper amount of attorneys’ fees; and
12            i.    Whether members of the Class are entitled to any such further relief as
13                  the Court deems appropriate.
14            56.   These common questions of law and fact predominate over questions
15   that affect only individual Class Members.
16            57.   Plaintiff’s claims are typical of Class Members’ claims because they
17   are based on the same underlying facts, events, and circumstances relating to
18   Defendants’ conduct. Specifically, all Class Members, including Plaintiff, were
19   charged membership fees despite being barred from entry into Defendants’ theme
20   parks and waterparks, and suffered economic injury as a result. Absent Defendants’
21   business practice of advertising the Memberships as providing “unlimited visits” to
22   the parks, Plaintiff and Class Members would not have purchased the Memberships.
23            58.   Plaintiff will fairly and adequately represent and protect the interests of
24   the Classes, has no interests incompatible with the interests of the Classes, and has
25   retained counsel with substantial experience in handling complex class action
26   litigation in general.       Plaintiff and her counsel are committed to vigorously
27   prosecuting this action on behalf of the Classes and have the financial resources to
28   do so.


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 1          59.    Plaintiff and the members of the Classes suffered, and will continue to
 2    suffer harm as a result of the Defendants’ unlawful and wrongful conduct. A class
 3    action is superior to other available methods for the fair and efficient adjudication of
 4    the present controversy.     Individual joinder of all members of the Classes is
 5    impracticable. Even if individual Class members had the resources to pursue
 6    individual litigation, it would be unduly burdensome to the courts in which the
 7    individual litigation would proceed. Individual litigation magnifies the delay and
 8    expense to all parties in the court system of resolving the controversies engendered
 9    by Defendants’ common course of conduct. The class action device allows a single
10    court to provide the benefits of unitary adjudication, judicial economy, and the fair
11    and efficient handling of all Class members’ claims in a single forum. The conduct
12    of this action as a class action conserves the resources of the parties and of the
13    judicial system and protects the rights of the class members. Furthermore, for many,
14    if not most, a class action is the only feasible mechanism that allows an opportunity
15    for legal redress and justice.
16          60.    Adjudication of individual Class members’ claims with respect to
17    Defendants would, as a practical matter, be dispositive of the interests of other
18    members not parties to the adjudication, and could substantially impair or impede
19    the ability of other class members to protect their interests.
20          61.    Defendants have acted on grounds applicable to the Class, thereby
21    making appropriate final injunctive and declaratory relief concerning the Class as a
22    whole.
23          62.    As a result of the foregoing, class treatment is appropriate under Fed.
24    R. Civ. P. 23(b)(2) and 23(b)(3).
25                                        CAUSES OF ACTION
26                                     FIRST CAUSE OF ACTION
27                           Violations of the Unfair Competition Law,
28                             Cal. Bus. & Prof. Code §§ 17200 et seq.


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 1          63.    Plaintiff realleges and incorporates the allegations elsewhere in the
 2    Complaint as if set forth in full herein.
 3          64.    California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
 4    §§ 17200, et seq., proscribes acts of unfair competition, including “any unlawful,
 5    unfair or fraudulent business act or practice and unfair, deceptive, untrue or
 6    misleading advertising.”
 7          65.     For the reasons discussed above, Defendants have engaged in unfair,
 8    deceptive, untrue and misleading advertising, and continue to engage in such
 9    business conduct, in violation of the UCL.
10                                                Fraudulent
11          66.    A statement or practice is “fraudulent” under the UCL if it is likely to
12    mislead or deceive the public, applying an objective reasonable consumer test.
13          67.    As set forth herein, Defendants’ advertising that their amusement parks
14    would be available to visitors year-round, and that members would have “unlimited”
15    access to the parks upon signing up and paying for a Membership or Season Pass.
16    This advertising is likely to mislead reasonable consumers because Defendant
17    suspended park operations and closed all parks and waterparks, while continuing to
18    charge members monthly fees.
19          68.    Plaintiff and Class Members acted reasonably when they purchased
20    Monthly Memberships and Season Passes based on the belief that they would only
21    be charged fees when Defendants’ parks were open and accessible.
22          69.    Defendants’ conduct caused and continues to cause substantial injury
23    to Plaintiff and the other Class members. Plaintiff has suffered injury in fact as a
24    result of Defendants’ unfair conduct. Defendants have thus engaged in unlawful,
25    unfair and fraudulent business acts and practices and false advertising, entitling
26    Plaintiff and the Class to injunctive relief against Defendants, as set forth in the
27    Prayer for Relief.
28          70.    Pursuant to Business and Professions Code §17203, Plaintiff and the


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 1    Class seek an order requiring Defendants to immediately cease such acts of
 2    unlawful, unfair and fraudulent business practices and requiring Defendants to
 3    provide refunds to all members who were wrongfully charged.
 4          71.    Plaintiff also seek an order for the disgorgement and restitution of all
 5    monies gained from the wrongful charging of membership fees when the parks were
 6    closed, which was unjustly acquired through acts of unlawful, unfair, and/or
 7    fraudulent competition.
 8                                            Unlawful
 9          72.    The acts alleged herein are ‘‘unlawful” under the UCL in that they
10    violate at least the following laws:
11          a.     By knowingly and intentionally charging Plaintiff and other Class
12                 Members monthly membership fees despite barring Plaintiff and Class
13                 Members from entry into the parks and waterparks;
14          b.     By engaging in the conduct giving rise to the claims asserted in this
15                 complaint;
16          c.     By breaching its contracts with Monthly Membership and Season Pass
17                 holders;
18          d.     By violating California Civil Code §§ 1709-1711 by making
19                 affirmative misrepresentations about the Product;
20          e.     By violating the California Commercial Code for breach of express
21                 warranties;
22          f.     By violating the California Commercial Code for breach of implied
23                 warranties;
24          g.     By violating the False Advertising Law, Cal. Bus. & Prof. Code §§
25                 17500 et seq.;
26          h.     By violating the Consumers Legal Remedies Act, Cal. Civ. Code §§
27                 1750 et seq..
28          73.    Such conduct is ongoing and continues to this date.


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 1          74.    Plaintiff and the Class reserve the right to allege other violations of law,
 2    which constitute other unlawful business acts or practices.
 3          75.    Defendants’ acts, misrepresentations, and practices as alleged herein
 4    also constitute “unfair” business acts and practices within the meaning of the UCL
 5    in that their conduct is substantially injurious to consumers, offends public policy,
 6    and is immoral, unethical, oppressive, and unscrupulous as the gravity of the conduct
 7    outweighs any alleged benefits attributable to such conduct. In the alternative,
 8    Defendants’ business conduct as described herein violates relevant laws designed to
 9    protect consumers and business from unfair competition in the marketplace. Such
10    conduct is ongoing and continues to date.
11          76.    Defendants’ conduct with respect to the charging of monthly
12    membership fees while suspending business operations was and is also unfair
13    because it violates public policy as declared by specific constitutional, statutory or
14    regulatory provisions, including but not limited to the Consumers Legal Remedies
15    Act and the False Advertising Law.
16          77.    Defendants’ conduct with respect to the wrongful charging of monthly
17    membership fees was and is also unfair because the consumer injury was substantial,
18    not outweighed by benefits to consumers or competition, and not one consumers
19    themselves could reasonably have avoided.
20          78.    Defendants profited from charging members monthly fees to customers
21    who were unable to access the parks.
22          79.    Plaintiff and Class Members are likely to continue to be damaged by
23    Defendants’ wrongful practices, because Defendants continue to charge customers
24    monthly fees even though the parks are closed. Thus, injunctive relief enjoining
25    Defendants’ wrongful practices is proper.
26          80.    There were reasonably available alternatives to further Defendants’
27    legitimate business interests, other than the conduct described herein.
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 1                                  SECOND CAUSE OF ACTION
 2                             Violations of the False Advertising Law,
 3                              Cal. Bus. & Prof. Code §§ 17500 et seq.
 4          81.     Plaintiff realleges and incorporates the allegations elsewhere in the
 5    Complaint as if set forth in full herein.
 6          82.     It is unlawful under the FAL to disseminate statements concerning
 7    property or services that are “untrue or misleading, and which is known, or which
 8    by the exercise of reasonable care should be known, to be untrue or misleading.”
 9    Cal. Bus. & Prof. Code § 17500.
10          41.     As alleged herein, the advertisements, policies, acts, and practices of
11    Defendants relating to the Memberships and fees misled customers acting
12    reasonably.
13          42.     Plaintiff has standing to pursue this claim because Plaintiff has suffered
14    injury in fact as a result of Defendants’ actions as set forth herein. Specifically, prior
15    to the filing of this action, Plaintiff was charged a monthly fee for her Membership,
16    which she purchased in reliance on Defendants’ false and misleading claims that the
17    parks would be accessible year-round and that Plaintiff would receive “unlimited
18    visits” to the parks with a purchase of a Membership.
19          43.     Defendants’ business practices as alleged herein constitute deceptive,
20    untrue, and misleading advertising pursuant to the FAL because Defendants have
21    advertised the Memberships in a manner that is untrue and misleading, which
22    Defendants knew or reasonably should have known, and omitted material
23    information from its advertising.
24          44.     Defendants profited from its sale of the falsely and deceptively
25    advertised Memberships to customers who did not know that Defendants would
26    continue charging them fees for monthly memberships that were unusable as a result
27    of park closures.
28          45.     As a result, Plaintiff, the Class, and the general public are entitled to


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 1    injunctive and equitable relief, restitution, and an order for the disgorgement of the
 2    funds by which Defendants were unjustly enriched.
 3          46.    Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of
 4    herself and the Class, seeks an order enjoining Defendants from continuing to
 5    engage in deceptive business practices, false advertising, and any other act
 6    prohibited by law, including those set forth in this Complaint.
 7                                   THIRD CAUSE OF ACTION
 8                        Violations of the Consumer Legal Remedies Act,
 9                                   Cal. Civ. Code §§ 1750 et seq.
10          47.    Plaintiff realleges and incorporates the allegations elsewhere in the
11    Complaint as if set forth in full herein.
12          48.    The CLRA prohibits deceptive practices in connection with the conduct
13    of a business that provides goods, property, or services primarily for personal,
14    family, or household purposes.
15          49.    Defendants’ policies, acts, and practices were designed to, and did,
16    induce the purchase and use of the Memberships for personal, family, or household
17    purposes by Plaintiff and Class Members, and violated and continue to violate the
18    following sections of the CLRA:
19          a.     § 1770(a)(5): representing that goods have characteristics, uses, or
20                 benefits which they do not have;
21          b.     § 1770(a)(7): representing that goods are of a particular standard,
22                 quality, or grade if they are of another;
23          c.     § 1770(a)(9): advertising goods with intent not to sell them as
24                 advertised; and
25          50.    Defendants profited from charging members monthly fees despite
26    barring customers from access to the parks.
27          51.    Defendants’ wrongful business practices constituted, and constitute, a
28    continuing course of conduct in violation of the CLRA.


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 1          52.    Plaintiff seeks injunctive relief for Defendants’ violations of the CLRA.
 2          53.    Plaintiff will send a CLRA notice letter to Defendants that complies
 3    with California Civil Code § 1782(a). If Defendants fail to take the corrective action
 4    detailed in Plaintiffs’ forthcoming CLRA letter within the due date of the letter, then
 5    Plaintiff will seek leave to amend her complaint to add a claim for damages under
 6    the CLRA.
 7                                 FOURTH CAUSE OF ACTION
 8                                  Breach of Express Warranties,
 9                                     Cal. Com. Code § 2313(1)
10          54.    Plaintiff realleges and incorporates the allegations elsewhere in the
11    Complaint as if set forth in full herein.
12          55.    Through Defendants’ website, Defendants made affirmations of fact or
13    promises which were “part of the basis of the bargain,” in that Plaintiff and the Class
14    purchased the Memberships in reasonable reliance on those statements. Cal. Com.
15    Code § 2313(1).
16          56.    Specifically, Defendants expressly warranted that the parks would be
17    accessible year-round and that members would have “unlimited visits” to the parks
18    with the purchase of a Membership.
19          57.    The foregoing representations were material and were a substantial
20    factor in causing the harm suffered by Plaintiff and the Class.
21          58.     These representations had an influence on consumers’ decisions in
22    purchasing the Memberships.
23          59.    Defendants made the above representations to induce Plaintiff and the
24    members of Class to purchase the Memberships. Plaintiff and the Class members
25    relied on the representations when purchasing Defendants’ Memberships.
26          60.    Defendants breached the express warranties by charging their members
27    monthly memberships fees despite closing all of their parks and waterparks.
28          61.    That breach actually and proximately caused injury in the form of the


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 1    lost purchase price that Plaintiff and Class members are being charged for their
 2    Membership during this time.
 3                                   FIFTH CAUSE OF ACTION
 4                                  Breach of Implied Warranties,
 5                                       Cal. Com. Code § 2314
 6          62.     Plaintiff realleges and incorporates the allegations elsewhere in the
 7    Complaint as if set forth in full herein.
 8          63.     Defendants, through their acts as set forth herein, in the sale, marketing,
 9    and promotion of the Memberships, made representations to Plaintiff and the Class
10    that, among other things, they would be charged for Memberships that permitted
11    “unlimited visits” to Six Flags branded theme parks.
12          64.     Plaintiff and the Class signed up and purchased Memberships
13    advertised and sold by Defendants, as described herein.
14          65.     Defendants are merchants with respect to the goods of this kind which
15    were sold to Plaintiff and the Class, and there was, in the sale to Plaintiff and other
16    consumers, an implied warranty that Plaintiff and other members would only be
17    charged membership fees if the parks were open.
18          66.     However, Defendants breached that implied warranty in that they
19    continue to charge members monthly fees despite barring entry to all parks and
20    waterparks.
21          67.     As an actual and proximate result of Defendants’ conduct, Plaintiff and
22    the Class did not receive goods as impliedly warranted by Defendants to be
23    merchantable in that it did not conform to promises and affirmations made along
24    with the Memberships, nor are the Memberships fit for their ordinary purpose, i.e.
25    permitting access to the parks.
26          68.     Plaintiff and Class have sustained damages as a proximate result of the
27    foregoing breach of implied warranty in the amount of the monthly fees they are
28    charged for their Memberships.


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 1                                   SIXTH CAUSE OF ACTION
 2                                   Negligent Misrepresentation
 3          69.    Plaintiff realleges and incorporates the allegations elsewhere in the
 4    Complaint as if set forth in full herein.
 5          70.    Defendants had a duty to disclose to Plaintiff and Class Members
 6    correct information as to the quality and characteristics of the Memberships because
 7    Defendants were in a superior position than Plaintiff and Class Members such that
 8    reliance by Plaintiff and Class Members were justified. Defendants possessed the
 9    skills and expertise to know the type of information that would influence a
10    customer’s purchasing decision.
11          71.    During the applicable Class period, Defendants negligently or
12    carelessly misrepresented, omitted, and concealed from consumers material facts
13    regarding the quality and characteristics of the Memberships, including the fact that
14    the Six Flags branded theme parks would be closed.
15          72.    Defendants made such false and misleading statements and omissions
16    with the intent to induce Plaintiff and Class Members to purchase the Memberships.
17          73.    Defendants were careless in ascertaining the truth of their
18    representations in that they knew or should have known that Plaintiff and Class
19    Members would not realize the alleged benefits represented by Defendants.
20          74.    Plaintiff and the Class Members were unaware of the falsity in
21    Defendants’ misrepresentations and omissions and, as a result, justifiably relied on
22    them when making the decision to purchase the Memberships.
23          75.    Plaintiff and the Class Members would not have purchased the
24    Memberships or would not have purchased them on the same terms if the true facts
25    had been known.
26                                SEVENTH CAUSE OF ACTION
27                                        Unjust Enrichment
28          76.    Plaintiff realleges and incorporates the allegations elsewhere in the


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 1    Complaint as if set forth in full herein.
 2          77.    Plaintiff and Class Members benefitted Defendants by paying monthly
 3    membership fees to Defendants despite not receiving access to any of Defendants’
 4    parks or waterparks.
 5          78.    Defendants have knowledge of such benefits, as Defendants
 6    automatically withdrew monthly memberships fees from Monthly Membership and
 7    Season Pass holders’ accounts.
 8          79.    Defendants have been unjustly enriched in retaining the monthly fees
 9    derived from Plaintiff and Class Members’ accounts. Retention of those monies
10    under the circumstances in unjust and inequitable because Defendants charge their
11    members a monthly membership fee for memberships that cannot provide the
12    advertised benefits, i.e. permit access to Six Flags branded theme parks and
13    Hurricane Harbor waterparks.
14          80.    Plaintiff and the Class Members would not have purchased the
15    Memberships or would not have purchased them on the same terms if the true facts
16    had been known.
17          81.    Because Defendants’ retention of non-gratuitous benefits conferred on
18    them by Plaintiff and the Class Members is unjust and inequitable, Defendant must
19    pay restitution to Plaintiff and Class Members for their unjust enrichment, as ordered
20    by the Court.
21                                 EIGHTH CAUSE OF ACTION
22                                                Conversion
23          82.    Plaintiff realleges and incorporates the allegations elsewhere in the
24    Complaint as if set forth in full herein.
25          83.    Plaintiff and Class Members had a right to retain their monthly
26    membership fees while the parks and waterparks were closed.
27          84.    Defendants intentionally charged Plaintiff and Class Members the full
28    amount of their monthly membership fees even though all parks and waterparks were


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 1    inaccessible.
 2          85.       Plaintiff and Class Members did not consent to Defendants’ charging
 3    of membership fees while the parks and waterparks were closed.
 4          86.       Plaintiff and Class Members were harmed through Defendants’ practice
 5    of charging Plaintiff’s and Class Members’ cards for Memberships that were
 6    unusable.
 7          87.       Defendants’ conduct was a substantial factor in causing Plaintiff’s and
 8    Class Members’ harm.
 9                                    NINTH CAUSE OF ACTION
10                                          Breach of Contract
11          88.       Plaintiff realleges and incorporates the allegations elsewhere in the
12    Complaint as if set forth in full herein.
13          89.       Defendants entered into contracts with Plaintiff and Class members to
14    provide access to Six Flags branded theme parks and Hurricane Harbor waterparks
15    in exchange for the payment of monthly membership fees.
16          90.       Defendants are in breach of contract because they continue to charge
17    Plaintiff and Class Members monthly membership fees even though Defendants will
18    no longer provide access to Six Flags branded theme parks and Hurricane Harbor
19    waterparks.
20          91.       Plaintiff and Class Members have suffered an injury in fact through the
21    payment of fees for Memberships that are unusable.
22                                    VI.    PRAYER FOR RELIEF
23          92.       Wherefore, Plaintiff, on behalf of herself, all others similarly situated,
24    and the general public, prays for judgment against Defendants as to each and every
25    cause of action, including:
26          a.        An order certifying this action as a class action pursuant to Federal
27                    Rules of Civil Procedure 23(b)(1), 23(b)(2), and/or 23(b)(3);
28          b.        An order maintaining this action as a class action and/or an order


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 1                maintaining a particular issue class action pursuant to Federal Rule of
 2                Civil Procedure 23(c)(4);
 3          c.    An order requiring Defendants to bear the costs of class notice;
 4          d.    An order appointing Plaintiff Sophia McConnell as the class
 5                representative and the Law Offices of Ronald A. Marron as Class
 6                Counsel;
 7          e.    An Order awarding disgorgement of Defendants’ profits that were
 8                obtained from their ill-gotten gains in connection with its charging of
 9                membership fees to Plaintiff and Class Members;
10          f.    An Order awarding restitution in the amount of the monthly fees paid
11                by Class Members for the Memberships;
12          g.    An award for punitive damages;
13          h.    An award awarding attorneys’ fees and costs; and
14          i.    An Order providing for all other such further relief as may be just and
15                proper.
16                                        JURY DEMAND
17          Plaintiff hereby demands a trial by jury on all issues so triable.
18
19
      Dated: April 21, 2020                   Respectfully Submitted,
20
21
                                              /s/ Ronald A. Marron
22
                                              Ronald A. Marron
23                                            LAW OFFICES OF RONALD A.
24                                            MARRON
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25                                            ron@consumersadvocates.com
26                                            MICHAEL T. HOUCHIN
                                              mike@consumersadvocates.com
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                                         Counsel for Plaintiff and the Proposed
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                                         Class
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